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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

   DENNIS TOOLEY,                            )
   an individual,                            )
                                             )                  CASE NO.: 1:22-cv-2446-JPH-TAB
                 Plaintiff,                  )
   vs.                                       )
                                             )
   KLC REALTY, LLC,                          )
   an Indiana Limited Liability Company,     )
                                             )
                 Defendant.                  )
   _________________________________________ )


                       STIPULATION OF DISMISSAL WITH PREJUDICE

           Plaintiff and Defendant, by and through their respective undersigned counsel, and pursuant

   to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to dismiss Defendant of all

   counts and claims asserted in this matter with prejudice and, except as agreed between the parties,

   each party to bear their own attorney’s fees, costs, and expenses.

   Dated: February 28, 2023

    /s/ Louis I. Mussman                                   /s/Thomas W. Vander Luitgaren
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    Attorneys for Plaintiff




                                   CERTIFICATE OF SERVICE

           I hereby certify that on February 28, 2023, a true and correct copy of the foregoing was

   submitted to the Clerk of Court using the CM/ECF system which will send a notice of electronic

   filing to:

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   Greenwood, IN 46143
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                                        By:    Louis I. Mussman             .
                                               Louis I. Mussman, Esq.




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